  Case: 1:11-cv-05624 Document #: 166-1 Filed: 04/04/14 Page 1 of 2 PageID #:885




             IN THE UNITED STATES DISTRICT COURT FOR THE
            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

RANDY LIEBICH,                               )
                                             )
                       Plaintiff,            )
                                             )
                       v.                    )      Case No. 11 C 5624
                                             )
MARCUS HARDY, et al.,                        )      Judge Robert W. Gettleman
                                             )
                       Defendants.           )      Mag. Judge Mary M. Rowland


                                     EXHIBIT LIST

Exhibit      Description
   A         Letter to Defendants’ Counsel (dated Sept. 13, 2013)
   B         Letter to Defendants’ Counsel (dated Oct. 15, 2013)
   C         Letter to Counsel for Wexford Defendants (dated Oct. 30, 2013)
   D         E-mail to Counsel for Wexford Defendants (dated Apr. 2, 2014)
   E         E-mail from Counsel for Wexford Defendants (dated Apr. 2, 2014)
   F         Letter to Counsel for Wexford Defendants (dated Apr. 2, 2014)

Dated: April 4, 2014




                                             Respectfully submitted,

                                             /s/ Sarah Grady
                                             Attorney for Plaintiff

Arthur Loevy
Jon Loevy
Michael Kanovitz
Russell Ainsworth
Vincenzo Field
Sarah Grady
LOEVY & LOEVY
312 N. May Street, Suite 100
Chicago, ILLINOIS 60607
(312) 243-5900
  Case: 1:11-cv-05624 Document #: 166-1 Filed: 04/04/14 Page 2 of 2 PageID #:886




                         CERTIFICATE OF SERVICE

       I, Sarah Grady, an attorney, certify that on April 4, 2014, I caused the
foregoing Exhibit List to be filed using the Court’s CM/ECF system, which effected
service on all counsel of record.

James Vlahakis
Albert Angelo
Tom O’Carroll
Hinshaw & Culbertson LLP
222 North LaSalle Street, Suite 300
Chicago, Illinois 60601
(312) 704-3751

Jessica Scheller
Office of the Attorney General
100 West Randolph Street, 13th Floor
Chicago, Illinois 60601
(312) 814-6131


                                             /s/ Sarah Grady
                                             Attorney for Plaintiff
